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                                               CALIFORNIA SUPERIOR COURT, COUNTY OF LOS ANGELES
                                                       CENTRAL DISTRICT, STANLEY MOSK COURTHOUSE

                                                                                                                                  19STCV08507
                      ARTUR ELIZAROV,

                                  Plaintiff,                                                               DECLARATION OF ILYA ALEKSEYEFF
                                                                                                             REGARDING THE ORDER TO SHOW
                                                            v.                                             CAUSE RE: SANCTIONS FOR FAILURE
                                                                                                                      TO APPEAR
                      BMW FINANCIAL SERVICES NA, LLC,
                                                                                                                             IN DEPARTMENT 16
                                  Defendant.                                                                                 HON. LIA MARTIN

                                                                                                           DATE: 09/06/2019
                                                                                                           TIME: 09:00 AM
                                                                                                           DEPT: 16

                                                                                                           DATE FILED: 03/11/19
                                                                                                           TRIAL DATE: NONE



                                 I, Ilya Alekseyeff, declare as follows:
                                 1.          I am an attorney and a member in good standing of the
                      California State Bar.
                                 2.          I have been attorney for the plaintiff ARTUR ELIZAROV since
                      March 11, 2019, when I filed the complaint in the above-entitled
                      civil cause.
                                 3.          On March 22, 2019, this Court scheduled a Case Management
                      Conference at 9:00 am on July 26, 2019, in Department 16.
                                 4.          On May 22, 2019, I filed and served a Notice of Settlement



                                                                                                                                                  Exhibit F - 1
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of the Entire Case under California Rules of Court, rule
3.1385(a)(1).
      5.    That same day, the Court ordered the date previously
scheduled for the Case Management Conference vacated and ordered me
to appear at 9:00 am on July 26, 2019, in Department 16 and show
cause why the case should be dismissed.
      6.    Although the order stated that a request for dismissal had
to be filed at least five days prior to the hearing to avoid a
mandatory appearance, I nonetheless interpreted the order in the
context of California Rules of Court, rule 3.1385(b), which states in
its entirety (with italics added) as follows:
      Except as provided in (c) [relating to conditional
      settlements, which does not apply here] or (d) [relating to
      settlements of claims by minors or disabled individuals,
      which similarly does not apply], each plaintiff or other party
      seeking affirmative relief must serve and file a request for
      dismissal of the entire case within 45 days after the date of
      settlement of the case. If the plaintiff or other party
      required to serve and file the request for dismissal does not
      do so, the court must dismiss the entire case 45 days after
      it receives notice of settlement unless good cause is shown
      why the case should not be dismissed.

      7.    By its terms, the rule required the court to dismiss the
case automatically within 45 days after the settlement date unless I
showed good cause why the case should not be dismissed.
      8.    Stated differently, this rule required me to appear in
court on July 26, 2019, only if I needed additional time to file the
request for dismissal.
      9.    At the time the parties in this case negotiated the
settlement, the parties contemplated that the Court should retain
jurisdiction to enforce the terms of the settlement under Code of
Civil Procedure section 664.6.
      10.   Because Code of Civil Procedure section 664.6 (as recently
interpreted in Mesa RHF Partners, L.P. v. City of Los Angeles (2019)
33 Cal.App.5th 913, 917) required the parties to request that the



                                                               Exhibit F - 2
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court retain jurisdiction over the case before I filed the request
for dismissal and the court dismissed the action, on May 22, 2019
defendant’s counsel Ms. Caley filed with the court a “STIPULATION
THAT THE COURT MAY RETAIN JURISDICTION TO ENFORCE THE SETTLEMENT
AGREEMENT PURSUANT TO CCP $664.6; AND [PROPOSED] ORDER THEREON.”
      11.   I then intended to file my request for dismissal as soon as
the Court acted on the stipulation and signed and filed the order,
which I anticipated would happen before July 26, 2019.
      12.   And in the unlikely event that the Court did not sign the
order until the hearing date itself, I anticipated that the court
would sign the order at the hearing and then dismiss the case under
rule 3.1385(b).
      13.   In either case, because rule 3.1385(b) did not require me
to appear unless I sought a delay in dismissing the case (which I did
not), I anticipated that the court would not require my appearance.
      14.   I have since reviewed the court’s docket and noted that the
court signed the stipulation and order on the hearing date but then
continued the hearing instead of dismissing the case – an outcome
that I did not anticipate.
      15.   Then on today’s date, attorney Caley sent me the filed copy
of the court order to retain jurisdiction.
      16.   I then promptly prepared and filed the Request for
Dismissal with the court concurrently with this declaration.
      17.   I apologize to the court for my failure to appear at the
hearing on July 26th and I ask the court to find that I had good cause
for my failure to appear because I thought in good faith that the
court would sign and file the order and then automatically dismiss
this action under rule 3.1385(b).
      18.   I also apologize the defendant and its attorneys who
appeared at the hearing.
      19.   If this declaration satisfies the court, I hope that the
court discharges the order to show cause and takes the hearing off



                                                               Exhibit F - 3
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calendar; however, if the court still requires my appearance, I will
gladly appear but will have to do so by CourtCall because I will
travel out of the country on August 28th and will not return until
September 9th, 2019.
      I declare under penalty of perjury under the laws of the State
of California that the foregoing is true and correct and that I
executed this declaration this 14th day of August 2019.




ILYA ALEKSEYEFF, ESQ.




                                                               Exhibit F - 4
